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Former Counsel for Benihana New York Concession Corp.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
 ---------------------------------------------------------------- x
In re:                                                            : Chapter 11
                                                                  :
FAIRWAY GROUP HOLDINGS CORP., et al., : Case No. 20-10161 (JLG)
                                                                  :
                            Debtors.1                             : (Jointly Administered)
                                                                  :
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                     NOTICE OF WITHDRAWAL OF APPEARANCE OF
                     JOHN P. CAMPO AND REQUEST TO BE REMOVED
                   FROM THE SERVICE LIST, MATRIX AND ECF NOTICE

TO: ALL PARTIES IN INTEREST

         PLEASE TAKE NOTICE that John P. Campo of Akerman LLP hereby withdraws his

Notice of Appearance [Doc. No. 114] as counsel for Benihana New York Concession Corp. in

the above-captioned case and requests to be removed from the Service List, Matrix, and ECF-

Notice in this bankruptcy case.



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are as follows: Fairway Group Holdings Corp. (2788); Fairway Group Acquisition Company (2860);
Fairway Bakery LLC (4129); Fairway Broadway LLC (8591); Fairway Chelsea LLC (0288); Fairway Construction
Group, LLC (2741); Fairway Douglaston LLC (2650); Fairway East 86th Street LLC (3822); Fairway eCommerce
LLC (3081); Fairway Georgetowne LLC (9609); Fairway Greenwich Street LLC (6422); Fairway Group Central
Services LLC (7843); Fairway Group Plainview LLC (8643); Fairway Hudson Yards LLC (9331); Fairway Kips
Bay LLC (0791); FN Store LLC (9240); Fairway Paramus LLC (3338); Fairway Pelham LLC (3119); Fairway
Pelham Wines & Spirits LLC (3141); Fairway Red Hook LLC (8813); Fairway Stamford LLC (0738); Fairway
Stamford Wines & Spirits LLC (3021); Fairway Staten Island LLC (1732); Fairway Uptown LLC (8719); Fairway
Westbury LLC (6240); and Fairway Woodland Park LLC (9544). The location of the Debtors’ corporate
headquarters is 2284 12th Avenue, New York, New York 10027. Fairway Community Foundation Inc., a charitable
organization, owned by Fairway Group Holdings Corp., is not a debtor in these proceedings.



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Dated: New York, New York
       August 7, 2020
                                       AKERMAN LLP


                                       By:   /s/John P. Campo
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                                       Corp.




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